                     UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Silas Daniel Elkins
     Staci Mari Elkins
                                            Case No.1-19-02824HWV

                                                           Chapter 13
                     Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Quicken Loans
 Court Claim Number:             05
 Last Four of Loan Number:       1411
 Property Address if applicable: 12 Locust St

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                    $542.62
 b.      Prepetition arrearages paid by the trustee:                        $542.62
 c.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                   $0.00
 f.       Postpetition arrearage paid by the trustee:                       $0.00
 g.       Total b, d, and f:                                                $542.62

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
 counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: July 18, 2024
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Silas Daniel Elkins
    Staci Mari Elkins
                                                           Case No.1-19-02824HWV

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on July 18, 2024, I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 Nicholas G. Platt, Esquire
 Mooney Law
 230 York St
 Hanover PA 17331


 Served by First Class Mail
 Quicken Loans, Inc
 635 Woodward Ave
 Detroit MI 48226


 Silas Daniel Elkins
 Staci Mari Elkins
 14498 116th Ave
 Largo FL 33774


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: July 18, 2024                                   /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                                  Disbursements for Claim
Case: 19-02824            SILAS DANIEL ELKINS
         QUICKEN LOANS INC
                                                                                        Sequence: 24
         635 WOODWARD AVENUE
                                                                                           Modify:
                                                                                       Filed Date:
         DETROIT, MI 48226-
                                                                                       Hold Code:
 Acct No: Locust St - PRE-ARREARS - 1411
         ARREARS - 12 LOCUST STREET


                                                    Debt:             $542.62       Interest Paid:              $0.00
        Amt Sched:                $151,854.00                                         Accrued Int:               $0.00
         Amt Due:         $0.00                      Paid:            $542.62        Balance Due:                $0.00

Claim name                                 Type      Date           Check #      Principal    Interest       Total Reconciled
                                                                                                   DisbDescrp
 5200        QUICKEN LOANS INC
520-0 QUICKEN LOANS INC                            09/17/2020        1221791      $542.62       $0.00     $542.62 09/24/2020


                                                                 Sub-totals:     $542.62        $0.00    $542.62

                                                                Grand Total:     $542.62        $0.00




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